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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION
IN RE SKANSKA USA CIVIL SOUTHEAST INC
AND SKANSKA USA INC,
                                                     CASE NO. 3:20-cv-5980-LAC-HTC


                               REFERRAL AND ORDER

Referred to Senior Judge Lacey Collier on May 24, 2021
Motion: CLAIMANTS' REQUESTS TO WITHDRAWAL of Claims
Filed by Claimants                         on 05/05 - 05/06/2021 Doc.# 1112 - 1133
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                           JESSICA J. LYUBLANOVITS
                                         CLERK OF COURT


                                         /s/ Barbara Rogers
                                         Deputy Clerk


                                       ORDER

Upon   consideration    of   the   foregoing,   it   is    ORDERED   this    24th    day   of

May, 2021, that:

(a) The relief requested is GRANTED.




                                                           s/L.A. Collier
                                                          Lacey A. Collier

                                             Senior United States District Judge
